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From: Fillmore-Heritage-RFP (MYR) <Fillmore-Heritage-RFP@sfgov.org>
To: Fillmore-Heritage-RFP (MYR) <Fillmore-Heritage-RFP@sfgov.org>
Sent: Thursday, November 2, 2017 5:30 PM
Subject: Fillmore Heritage RFP Update

Dear Respondent,

Thank you for your participation in the Request for Proposals process for the Fillmore
Heritage Center. The process has now concluded.

After the Review Panel and City review, it was determined that no proposal emerged
that could appropriately meet the expectations outlined in the RFP. The criteria included
immediately available capital, a viable business plan, and a diverse set of community
benefits.

Based on this process, the City will not be moving forward under the RFP with the
negotiation of an Exclusive Negotiating Agreement for the purchase and repurposing of
the commercial portions and the parking garage of the Fillmore Heritage Center.
Accordingly, consistent with RFP Section L, the City is rejecting all proposals and no
project will be pursued based on this RFP process. All respondents will be refunded
their Earnest Money Deposits. Please email fillmore-heritage-rfp@sfgov.org to confirm
the payee and mailing address for the return of your Deposit. Please allow 2-3 weeks
for your Deposit to be returned.

The City will determine its options for the building and provide a public update before
the end of the calendar year.

Thank you again for your interest in the property and for your participation in the
process.

Fillmore Heritage RFP Team
